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                             UNITED STATES DISTRICT COURT                   By_       . DUFFY, CLERK

                       MISSOULA DIVISION, DISTRICT OF MONTANA                 DePUTY CLERK. MlSSOUiA _


   UNITED STATES OF AMERICA                            CRIMINAL COMPLAINT
       v.
   WILLIAM RICHARD NIELSEN                             CASE NUMBER:     ~ 11- 1- m-;Jt..L-­
I, the undersigned complainant, being duly sworn state the following is true and correct to the
best of my knowledge and belief.

On or about January 5, 2011, in Missoula County, in the State and District of Montana,
defendant, WILLIAM RICHARD NIELSEN, did knowingly persuade, induce, entice, and coerce
a twelve year old female, name withheld for privacy, to travel in interstate commerce to
engage in any sexual activity for which any person can be charged with a criminal offense.

       All in violation of Title 18, United States Code, Section 2422(a).

1.     I, Monte Shaide, am a Special Agent (SA) of the Federal Bureau of Investigation and
am currently assigned to the Missoula Resident Agency in Missoula, Montana. I have been
employed as an SA for over thirteen years and in that time have had extensive training and
experience in conducting violent crime investigations, to include crimes against children. I am
assigned to the following investigation and the information contained in this affidavit is based
on my own observation, training, and experience, and where noted, information provided to
me by other law enforcement officers.

2.     On January 7,2011, Jeff Jaramillo, the father of a 12 year old female, name withheld
and hereinafter referred to as "the victim", came into the Missoula Police Department to seek
an investigative subpoena for the victim's cell phone information. Jeff had reported the victim
missing to the Sheridan, Wyoming Police Department. Jeff believed that the victim was
currently in the Missoula area. Jeff was advised by the Missoula Police Department that his
request must be reported through the local law enforcement agency in Sheridan, Wyoming.

3.     On January 9, 2011, at approximately 9:57am, Missoula Police Department officers
were dispatched to The Bridge Apartments located at 1205 West Broadway, to the report of a
disturbance involving multiple individuals. Officers arrived and found Jeff Jaramillo, Bobbie'Jo
Marshall, Amanda Lynn, Bobbi Brooks, the victim, and WILLIAM NIELSEN in the front of the
buildin~. Jeff was accusing NIELSEN of having sex with the victim.


4.    Jeff explained to officers that he and his ex-wife, Bobbie'Jo Marshall, realized their
daughter had ran away and boarded a Greyhound Bus from Sheridan, Wyoming to Missoula,
Montana, on January 5, 2011. Jeff and Bobbie'Jo further investigated their daughter's
disappearance and discovered their daughter had been talking to a guy in Missoula on her
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MySpace page. Initially, Jeff and Bobbie'Jo did not know very much information about him but
eventually located NIELSEN by secretly posing as one of the victim's friends on MySpace.

5.     Under this "persona", Jeff stated they advised NIELSEN they had drugs available. Jeff
stated NIELSEN was excited to have more drugs and met Jeff (thinking he was "the friend") at
NIELSEN's place of residence, The Bridge Apartments. Jeff also advised officers that when
he entered NIELSEN's apartment (#8) he found the victim naked and lying on NIELSEN's bed.

6.     When officers spoke with the victim, she explained she had made contact with
NIELSEN about three weeks ago on MySpace and was pressured into purchasing a bus ticket
to Missoula in order to meet NIELSEN. The victim stated she arrived at the bus terminal in
Missoula about 4 days earlier and was met by NIELSEN. NIELSEN asked her what her name
was. After she said her name, NIELSEN grabbed her arm and walked her over to his
apartment, which is located nearby. After the victim entered NIELSEN's apartment, NIELSEN
locked the door and had sex with her during all four days. The victim said she tried to leave,
but NIELSEN told her she could not. The victim stated that NIELSEN provided her with
marijuana and marijuana laced brownies.

7.     Missoula Police Detectives responded to the scene and identified WILLIAM RICHARD
NIELSEN as a registered sex offender. He was previously convicted of sexual assault in
Montana District Court. His prior victim was a 12 year old female. NIELSEN is a 24 year old
white male, date of birth 06/03/1986, who stands 6'4" and is 370 pounds.

8.     The victim was escorted by her family and Missoula Police Officers to the hospital
where she was medically treated. The victim informed the staff that she suffered from vaginal
bleeding as NIELSEN penetrated her numerous times with his penis and a dildo. The victim
also had numerous bruises and marks on her body consistent with slapping, biting, and
sucking.

9.     Missoula Police Detective Dean Chrestenson and Missoula Police Detective Guy Baker
contacted me regarding the above matter and requested FBI assistance. I responded to the
Greyhound Bus Terminal and obtained records regarding the victim's travel from Sheridan,
Wyoming. The victim used NIELSEN's last name and purchased a $107 one-way bus ticket.
using cash. from Sheridan. Wyoming to Missoula. Montana on the evening of January 4.
2011. Records indicate the victim departed from Sheridan on January 4, and arrived in
Missoula on January 5. 2011 at 8:15am.

10.    Detective Chrestenson and Detective Baker interviewed the victim at the Missoula
Police Department. The victim stated that she met NIELSEN via MySpace.com approximately
three weeks ago. After she met NIELSEN on MySpace, they went to a chat room. The chat
room was for individuals 18 years and older. The victim initially lied about her age to get into
the chat room. Once in the chat room, NIELSEN and the victim exchanged cell phone
numbers. The victim and NIELSEN started "sexting" back and forth and engaged in phone
sex on at least one occasion. The victim then informed NIESLEN that she was only twelve
years old. NIELSEN told the victim that he was a registered sex offender and could get into
trouble. NIELSEN then told the victim that it could be their little secret and no one needed to
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know. NIELSEN "sexted" and engaged the victim in phone sex numerous times after
NIELSEN knew she was only twelve. NIELSEN asked the victim to come to Montana to see
him. NIELSEN promised the victim drugs and a good time. The victim said she was tired of
school and asked NIELSEN how she would get to Missoula. NIELSEN instructed the victim to
take the Greyhound Bus. NIELSEN sent the victim the bus schedule and instructed her on the
date and time to leave. The victim followed NIELSEN's instructions. The victim used
NIELSEN's last name so that she would not be identified as a juvenile. The victim grabbed
some money, purchased a ticket, and left for Missoula the evening of January 4, 2010.

11.      Upon her arrival, NIELSEN took the victim to his apartment, locked the door, and got
the victim high on marijuana. NIELSEN took the victim's clothes off and engaged in sexual
intercourse. The victim stated that NIELSEN penetrated her vagina with his penis, mouth, and
a dildo. The victim also engaged in oral sex with NIELSEN. NIELSEN told the victim she was
his little "fuck pet". On one occasion, the victim tried to leave but NIELSEN told her she was
not going anywhere. The victim said she felt that she could not leave and was being held
against her will. She said she felt "out of it" and high from drugs during her entire stay with
NIELSEN. The victim estimated that NIELSEN had sexual intercourse with her up to five
times a day for four days.

12.     NIELSEN was initially interviewed by Detective Chrestensen and Detective Baker.
During the interview, NIELSEN was deceptive regarding his knowledge of the victim's age and
his solicitation of the victim from Wyoming to Montana. I asked NI ELSEN if he would consent
to an FBI polygraph examination. NIELSEN advised that he would submit to a test.

13.    FBI Special Agent Stacey Smiedala, an FBI Polygraph Examiner, at my request
responded to the Missoula Police Department and administered a polygraph examination on
NIELSEN. Subsequent to the polygraph, NIELSEN advised SA Smiedala, Detective Baker,
and I that NIELSEN .knew the victim was twelve years old and still solicited her to come to
Montana. When the victim arrived, NIELSEN got her high on marijuana and alcohol. He then
engaged in oral and vaginal sexual intercourse several times a day. NIELSEN stated that he
slapped her body region to include her breasts, buttocks, and vagina with his open hand.
NIELSEN stated that he also bit and sucked on areas of her body. NIELSEN called her his
"fuck pet" and ordered her to call him "daddy". NI ELSEN admits to be into bondage and
sadomasochistic activity. NIELSEN, being a registered sex offender, admitted that he knew
he was in trouble. When NIELSEN was asked if he was ever going to let her go, NIELSEN
replied that he probably could not let her go until she was eighteen years of age.

 14. Based on the foregoing, there is probable cause to believe that WILLIAM RICHARD
NIELSEN did knowingly persuade, induce, entice, and coerce a twelve year old female to
travel in interstate commerce to engage in any sexual activity for which any person can be
charged with a criminal offense,a violation of Title 18, United States Code, Section 2422(a). It
is violation of § 45-4-503, M.C.A., for a person to have sexual intercourse without consent with
another person. "Without consent" means the victim is incapable of consent because the
victim is less than 16 years old.
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o Continued on the attached sheet and made a part hereof

                                             Monte Shaide, pecial Agent
                                             Federal Bureau of Investigationa

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 Jeremiah C. Lynch. U.S. Magistrate Judge
 Name and Title of Judicial Officer
